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                      UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

  In Re: Brian J. Halenar                        :   Case No: 18-50708
         Katie A. Halenar
         Debtor(s)                               :   Chapter 13 Judge: C KATHRYN PRESTON

                                                 :   341 Date: March 21, 2018

                                     FIRST AMENDED
           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION

      Now comes Frank M. Pees, Standing Chapter 13 Trustee, and objects to the
  confirmation of the plan and requests that the Court enter an Order denying confirmation
  for the reasons set forth below and dismissing the case, pursuant to 11 U.S.C. §1307.
  This objection supersedes any prior objection filed in this case by the Trustee.
      Above median income______
                           X                           Below median income______

         _______
           X      11 U.S.C. §1325(a)(1)-Plan does not comply with all provisions of
         Chapter 13 of Title 11 and the other applicable provisions of Title 11:

                  ______Trustee
                      X          is unable to accurately determine length. Trustee is
                  unable to determine length as Objections and Orders have not been
                  filed an entered, as proposed by Paragraph 5.1.4 of Debtor's Plan.

                  ______Debtor
                      X            has failed to file a complete list of creditors, statement of
                  financial affairs, schedules including current income and expenses, or
                  other filing requirements, pursuant to 11 U.S.C. § 521. Schedule B fails
                  to reflect values of both whole life insurance policies.

                  ______Other:
                     X         Plan 5.1.4 fails to reflect creditor name for both lien
                  autos.

                  Plan 5.1.4 fails to reflect purchase date of both autos; schedule D
                  simply states 2015, Trustee unable to determine if autos are
                  properly classified as "506" claims.

                  Plan (summary box) box not checked "This Plan limits the amount
                  of a secured claim based on a valuation of the collateral securing the
                  claim"; however section 5.1.4 provides treatment for debts.

                  Plan sections 3 and 5.1.1 differs from Schedule A and D as to real
                  property address.

                  Plan sections 5.2.1 fails to reflect mortgage arrearages for both 1st
                  and 2nd mortgages.
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                   Plan section 3 - clarify on what basis pre-adequate protection
                   payments are provided for both 1st and 2nd mortgages.

                   Schedules B, D and the Plan disclose lien auto to GM Financial as a
                   2011 Toyota; however proof of claim filed reflects 2012 Toyota.

                          ______Trustee
                             X           is unable to accurately determine best interest as
                          Debtor(s) have failed to provide an acceptable appraisal,
                          pursuant to LBR 3015-3(e)(3). Provide an Appraisal of
                          property.

                  ______11
                      X      U.S.C. §1325(a)(6)-Plan is not feasible based on income,
                  living expenses, and plan payments.

                             X
                          ______Other: Schedule I - per 341 testimony student loan
                          garnishment has ceased; amend accordingly.

                          Schedule I and pay advices provided for Mrs. differs as to
                          401k deductions.

          Pursuant to LBR 3015-2(a), amendments necessary to place the plan in a posture
  for confirmation must be filed at least ten (10) days prior to the hearing on confirmation
  set for May 10, 2018, unless Debtor(s) have entered into an Agreed Order with the
  Trustee and so are bound by the terms of that Order.

         Therefore, the Trustee prays that confirmation is denied and this case be
  dismissed for cause pursuant to §1307(c).
  TERMS OF THE PLAN:

  Plan Payments: $3700.00/REM

  Best Interest Dividend: 0%       Dividend: 100%

  Length: 0 Months

  Further, Trustee notes that:

         _______
           X     Debtor(s)’ counsel to upload Wage Order.

         _______
            X     Trustee notes: High budget items in 100%; if unsecured dividend were
         to decrease Trustee to re-review expenses.




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  Dated: April 24, 2018                     Respectfully submitted,

                                            /s/ Frank M. Pees
                                            Frank M. Pees
                                            Chapter 13 Trustee
                                            130 East Wilson Bridge Road #200
                                            Worthington, Ohio 43085
                                            (614) 436-6700
                                            trustee@ch13.org




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                                CERTIFICATE OF SERVICE

     The undersigned hereby certified that on the date shown below a copy of the
  Trustee’s First Amended Objection to Confirmation was served electronically on the
  Office of the United States Trustee and Debtor’s attorney, and on the Debtor(s) at the
  address as currently shown in the Trustee’s records by regular first class mail, postage
  prepaid.
  Dated: April 24, 2018                        /s/ Frank M. Pees
                                               Frank M. Pees
                                               Chapter 13 Trustee
                                               130 East Wilson Bridge Road #200
                                               Worthington, Ohio 43085-6300




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